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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS.

STATE OF LOUISIANA

NO. Ab! ‘/010D DIVISION " RB “5”

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YVETTE A. D’AUNOY . 7
VERSUS @ SL 2
MONSANTO COMPANY, ET AL Oys) ye

FILED:
DEPUTY CLERK
PETITION FOR DAMAGES
lL
1. Petitioner, Yvette A. D’Aunoy is an adult resident, citizen and domiciliary of the
State of Louisiana.
2: Made Defendants herein are the following, either foreign corporations licensed to

do and doing business in the State of Louisiana or domestic corporations licensed to do and doing
business in the State of Louisiana, or are individuals that are liable unto the Petitioner, for the
claims asserted herein:

A. MONSANTO COMPANY

B. HARRY’S HARDWARE, INC.

C. OHIO SECURITY INSURANCE COMPANY as the liability insurer of Harry’s

Hardware, Inc.

3. Orleans Parish is a proper venue pursuant to Louisiana Code of Civil Procedure
Article 74 because Mrs. D’Aunoy was exposed to Roundup in Orleans Parish. Accordingly, the
action on the offense is being brought in the parish where the wrongful conduct and injury was
sustained.

4, Orleans Parish is a proper venue for this matter pursuant to Louisiana Code of Civil
Procedure Article 42(2) because Defendant Harry’s Hardware, Inc. is a domestic corporation
licensed to do business in this State and has designated as its primary business office and/or
primary place of business in Louisiana as Orleans Parish.

2: This action is within the jurisdiction of the court and Orleans Parish is a proper
venue pursuant to Louisiana Code of Civil Procedure article 73 because each of the defendants

listed above jointly contributed to Petitioner’s exposure to roundup and subsequent contraction of
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Chronic Lymphocytic Leukemia and therefore each is jointly liable to Petitioner with each of its
co-defendants, and defendant Harry’s Hardware and the insurer of Harry’s Hardwar are domiciled
in Orleans Parish.
I. INTRODUCTION

6. Plaintiff brings this cause of action against the Defendants as their claims arise out
of the same series of transactions and occurrences, and their claims involve common questions of
law and/or fact. All claims in this action are a direct and proximate result of Defendants’ negligent,
willful, and wrongful conduct in connection with the design, development, manufacture, testing,
packaging, promoting, marketing, distribution, and/or sale of Roundup and/or other Monsanto
glyphosate-containing products (“Roundup”). Plaintiff in this action seeks recovery for damages
as a result of developing Chronic Lymphocytic Leukemia (“CLL”) a subset of Non-Hodgkin’s
Lymphoma (“NHL”), which was directly and proximately caused by such wrongful conduct by
Defendants, the unreasonably dangerous and defective nature of Roundup, and its active
ingredient, glyphosate, and the attendant effects of developing NHL. Plaintiff did not know of an
association between exposure to Roundup® and the increased risk of developing CLL or NHL
until well after July 29, 2015, when the International Agency for Research on Cancer (“IARC”),
an agency of the World Health Organization (“WHO”), first published its evaluation of glyphosate.
All of the claims involve common questions of law and fact and share legal and medical issues
that arise out of all of the Plaintiffs’ exposures to Roundup.

IW. THE PARTIES
Plaintiff

7. Plaintiff, Yvette D’Aunoy, is a resident of New Orleans, Louisiana. Mrs. D’Aunoy
has a significant exposure history to Roundup. Mrs. D’Aunoy was a very avid gardener. At her
home, during the time period 1989-1993, Mrs. D’ Aunoy used Roundup on her driveway and along
the side of her house on a weekly basis. Mrs. D’Aunoy moved and continued to use Roundup.
Between the years of 1994-2003, she used Round up on a weekly basis (a little less in the winter).
Mrs. D’ Aunoy used it to the kill the weeds in the alleyway of her house on and near the concrete
of her house. Mrs. D’Aunoy had large gardens with flower beds and little grass and believed the
Roundup was easier to use that a weed whacker. Mrs. D’Aunoy’s use was more sporadic between
2003-2005 because by this time she had two young kids and not as much time to garden. After

her Katrina evacuation, Mrs. D’Aunoy’s yard was like “a jungle” and she used a lot of Roundup

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to get the weeds under control. Mrs. D’Aunoy continued to use Roundup on occasions and even
used it after her diagnosed with CLL in 2016. Mrs. D’Aunoy used Roundup every spring to clear
out her herb garden which she would replant each year. Mrs. D’ Aunoy purchased Roundup from
the Harry’s Ace Hardware on General Meyer in Algiers, Louisiana. Mrs. D’Aunoy is unable to
continue to garden due to her CLL. Mrs. D’Aunoy suffers from significant fatigue and does not
have the energy to garden after working a full day.

Contra Non Valentum

8. The prescriptive period does not start until the plaintiff knew or should have known
that her CLL was caused by Roundup. Here, the results of the plaintiff's exposures to glyphosate-
containing products was inherently undiscoverable and there was no warning that such exposures
could cause CLL. Mrs. D’Aunoy did not know the association between Roundup and CLL until
less than one year from this date.

9. In October 2016, Mrs. D’Aunoy was diagnosed with CLL. Mrs. D’Aunoy asked
but was not provided an answer at to the cause of her CLL. In October 2016, Mrs. D’Aunoy was
told that there is no cure for CLL and she would have to wait for symptoms to develop before
treatments were an option. Between October and December of 2018, Mrs. D’Aunoy heard about a
California lawsuit against the manufacturer of Roundup for causing Non-Hodgkin’s Lymphoma.
Mrs. D’Aunoy did some research and found an FDA opinion/statement from 2015 that said
Roundup was not a carcinogen. In March 2019, Mrs. D’ Aunoy saw an article that reported about
the California verdict against Monsanto for Roundup causing the plaintiff's Non-Hodgkin’s
Lymphoma. In June 2019, Mrs. D’Aunoy learned about another California lawsuit against
Monsanto for Roundup. In August 2019, Mrs. D’Aunoy found an article on a website for survivors
of CLL written by a Medical Doctor from MD Anderson associating CLL with Roundup. On
August 21, 2019, Mrs. D’Aunoy found an article that showed a 41% increased incidence of CLL
in people who used Roundup. Mrs. D’Aunoy filed suit directly thereafter in September of 2019.

Defendant
10. Defendant Monsanto Company (“Monsanto”) is a Delaware corporation with its
headquarters and principal place of business in St. Louis, Missouri and licensed to do business in
Louisiana.
11. At all times relevant to this petition, Monsanto was the entity that discovered the

herbicidal properties of glyphosate and the manufacturer of Roundup®.
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12. Harry’s Hardware, Inc. is Louisiana Corporation with its principle place of business
in New Orleans, Louisiana.
13. Ohio Security Insurance Company is an insurance company licensed to do business

in the State of Louisiana.

IV. ROUND UP

14. In 1970, Defendant Monsanto Company discovered the herbicidal properties of
glyphosate and began marketing it in products in 1974 under the brand name Roundup®.
Roundup® is a non-selective herbicide used to kill weeds that commonly compete with the
growing of crops. By 2001, glyphosate had become the most-used active ingredient in American
agriculture with 85-90 millions of pounds used annually. That number grew to 185 million pounds
by 2007. As of 2013, glyphosate was the world’s most widely used herbicide.

15. Monsanto is a multinational agricultural biotechnology corporation based in St.
Louis, Missouri. It is the world's leading producer of glyphosate. As of 2009, Monsanto was the
world’s leading producer of seeds, accounting for 27% of the world seed market. The majority of
these seeds are of the Roundup Ready® brand. The stated advantage of Roundup Ready® crops
is that they substantially improve a farmer’s ability to control weeds, since glyphosate can be
sprayed in the fields during the growing season without harming their crops. In 2010, an estimated
70% of corn and cotton, and 90% of soybean fields in the United States were Roundup Ready®.

16. Monsanto’s glyphosate products are registered in 130 countries and approved for
use on over 100 different crops. They are ubiquitous in the environment. Numerous studies
confirm that glyphosate is found in rivers, streams, and groundwater in agricultural areas where
Roundup® is used. It has been found in food, in the urine of agricultural workers, and even in the
urine of urban dwellers who are not in direct contact with glyphosate.

17. On March 20, 2015, the International Agency for Research on Cancer (“IARC”), |
an agency of the World Health Organization (“WHO”), issued an evaluation of several herbicides,
including glyphosate. That evaluation was based, in part, on studies of exposures to glyphosate in

several countries around the world, and it traces the health implications from exposure to

glyphosate since 2001.
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18. On July 29, 2015, IARC issued the formal monograph relating to glyphosate. In
that monograph, the IARC Working Group provides a thorough review of the numerous studies
and data relating to glyphosate exposure in humans.

19. | The IARC Working Group classified glyphosate as a Group 2A herbicide, which
means that it is probably carcinogenic to humans. The IARC Working Group concluded that the
cancers most associated with glyphosate exposure are non-Hodgkin lymphoma and other
hematopoietic cancers, including lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell
lymphoma, and multiple myeloma.

20. The IARC evaluation is significant. It confirms what has been believed for years:
that glyphosate is toxic to humans.

21. Nevertheless, Monsanto, since it began selling Roundup®, has represented it as
safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and continues
to proclaim to the world, and particularly to United States consumers, that glyphosate-based
herbicides, including Roundup®, create no unreasonable risks to human health or to the
environment.

V. FACTS

22. — Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of
herbicidal products around the world.

23. Plants treated with glyphosate translocate the systemic herbicide to their roots,
shoot regions and fruit, where it interferes with the plant’s ability to form aromatic amino acids
necessary for protein synthesis. Treated plants generally die within two to three days. Because
plants absorb glyphosate, it cannot be completely removed by washing or peeling produce or by
milling, baking, or brewing grains.

24. For nearly 40 years, farms across the world have used Roundup® without knowing
of the dangers its use poses. That is because when Monsanto first introduced Roundup®, it touted —
glyphosate as a technological breakthrough: it could kill almost every weed without causing harm
either to people or to the environment. Of course, history has shown that not to be true. According
to the WHO, the main chemical ingredient of Roundup®—glyphosate—is a probable cause of
cancer. Those most at risk are farm workers and other individuals with workplace exposure to
Roundup®, such as workers in garden centers, nurseries, and landscapers. Agricultural workers

are, once again, victims of corporate greed. Monsanto assured the public that Roundup® was
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harmless. In order to prove this, Monsanto championed falsified data and attacked legitimate

studies that revealed its dangers. Monsanto led a prolonged campaign of misinformation to

convince government agencies, farmers, and the general population that Roundup® was safe.
The Discovery of Glyphosate and Development of Roundup®

25. The herbicidal properties of glyphosate were discovered in 1970 by Monsanto
chemist John Franz. The first glyphosate-based herbicide was introduced to the market in the mid-
1970s under the brand name Roundup®. From the outset, Monsanto marketed Roundup® as a
“safe” general-purpose herbicide for widespread commercial and consumer use; Monsanto still
markets Roundup® as safe today.

Registration of Herbicides under Federal Law

26. The manufacture, formulation and distribution of herbicides, such as Roundup®,
are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA” or “Act”),
7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental
Protection Agency (“EPA” or “Agency”) prior to their distribution, sale, or use, except as
described by the Act. 7 U.S.C. § 136a(a).

27. Because pesticides are toxic to plants, animals, and humans, at least to some degree,
the EPA requires as part of the registration process, among other things, a variety of tests to
evaluate the potential for exposure to pesticides, toxicity to people and other potential non-target
organisms, and other adverse effects on the environment. Registration by the EPA, however, is not
an assurance or finding of safety. The determination the Agency must make in registering or re-
registering a product is not that the product is “safe,” but rather that use of the product in
accordance with its label directions “will not generally cause unreasonable adverse effects on the
environment.” 7 U.S.C. § 136a(c)(5)(D).

28. FIFRA defines “unreasonable adverse effects on the environment” to mean “any
unreasonable risk to man or the environment, taking into account the economic, social, and
environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus
requires EPA to make a risk/benefit analysis in determining whether a registration should be
granted or allowed to continue to be sold in commerce.

29. The EPA registered Roundup® for distribution, sale, and manufacture in the United

States.
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30. FIFRA generally requires that the registrant, Monsanto in the case of Roundup®,
conducts the health and safety testing of pesticide products. The EPA has protocols governing the
conduct of tests required for registration and the laboratory practices that must be followed in
conducting these tests. The data produced by the registrant must be submitted to the EPA for
review and evaluation. The government is not required, nor is it able, however, to perform the
product tests that are required of the manufacturer.

31. The evaluation of each pesticide product distributed, sold, or manufactured is
completed at the time the product is initially registered. The data necessary for registration of a
pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide
products through a Congressionally-mandated process called “re-registration.” 7 U.S.C. § 136a-1.
In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests
and the submission of data for the EPA’s review and evaluation.

32. In the case of glyphosate, and therefore Roundup®, the EPA had planned on
releasing its preliminary risk assessment —in relation to the re-registration process—no later than
July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed releasing the
risk assessment pending further review in light of the WHO’s health-related findings.

Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup

33. Based on early studies that glyphosate could cause cancer in laboratory animals,
the EPA originally classified glyphosate as possibly carcinogenic to humans (Group C) in 1985.
After pressure from Monsanto, including contrary studies it provided to the EPA, the EPA changed
its classification to evidence of non-carcinogenicity in humans (Group E) in 1991. In so classifying
glyphosate, however, the EPA made clear that the designation did not mean the chemical does not
cause cancer: “It should be emphasized, however, that designation of an agent in Group E is based
on the available evidence at the time of evaluation and should not be interpreted as a definitive
conclusion that the agent will not be a carcinogen under any circumstances.”

34. On two occasions, the EPA found that the laboratories hired by Monsanto to test
the toxicity of its Roundup® products for registration purposes committed fraud.

35. Inthe first instance, Monsanto, in seeking initial registration of Roundup® by EPA,
hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate pesticide toxicology
studies relating to Roundup®. IBT performed about 30 tests on glyphosate and glyphosate-

containing products, including nine of the 15 residue studies needed to register Roundup®.
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36. In 1976, the United States Food and Drug Administration (“FDA”) performed an
inspection of Industrial Bio-Test Industries (“IBT”) that revealed discrepancies between the raw
data and the final report relating to the toxicological impacts of glyphosate. The EPA subsequently
audited IBT; it too found the toxicology studies conducted for the Roundup® herbicide to be
invalid. An EPA reviewer stated, after finding “routine falsification of data” at IBT, that it was
“hard to believe the scientific integrity of the studies when they said they took specimens of the
uterus from male rabbits.”

37. Three top executives of IBT were convicted of fraud in 1983.

38. In the second incident of data falsification, Monsanto hired Craven Laboratories in
1991 to perform pesticide and herbicide studies, including for Roundup®. In that same year, the
owner of Craven Laboratories and three of its employees were indicted, and later convicted, of
fraudulent laboratory practices in the testing of pesticides and herbicides.

39. Despite the falsity of the tests that underlie its registration, within a few years of its
launch, Monsanto was marketing Roundup® in 115 countries.

The Importance of Roundup® to Monsanto’s Market Dominance Profits

40. The success of Roundup® was key to Monsanto’s continued reputation and
dominance in the marketplace. Largely due to the success of Roundup® sales, Monsanto’s
agriculture division was out-performing its chemicals division’s operating income, and that gap
increased yearly. But with its patent for glyphosate expiring in the United States in the year 2000,
Monsanto needed a strategy to maintain its Roundup® market dominance and to ward off
impending competition.

41. In response, Monsanto began the development and sale of genetically engineered
Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to glyphosate; farmers
can spray Roundup® onto their fields during the growing season without harming the crop. This
allowed Monsanto to expand its market for Roundup® even further; by 2000, Monsanto’s
biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of
American soybeans were planted from Roundup Ready® seeds. It also secured Monsanto’s
dominant share of the glyphosate/Roundup® market through a marketing strategy that coupled
proprietary Roundup Ready® seeds with continued sales of its Roundup® herbicide.

42. Through a three-pronged strategy of increased production, decreased prices, and by

coupling with Roundup Ready® seeds, Roundup® became Monsanto’s most profitable product.

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In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other herbicides by a
margin of five to one, and accounting for close to half of Monsanto’s revenue. Today, glyphosate
remains one of the world's largest herbicides by sales volume.

Monsanto has known for decades that it falsely advertises the safety of Roundup®.

43, In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against
Monsanto based on its false and misleading advertising of Roundup ® products. Specifically, the
lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based
herbicides, including Roundup®, were “safer than table salt” and "practically non-toxic" to
mammals, birds, and fish. Among the representations the NYAG found deceptive and misleading
about the human and environmental safety of Roundup® are the following:

a) Remember that environmentally friendly Roundup herbicide is
biodegradable. It won't build up in the soil so you can use Roundup with
confidence along customers’ driveways, sidewalks and fences ...

b) And remember that Roundup is biodegradable and won't build up in the soil.
That will give you the environmental confidence you need to use Roundup
everywhere you've got a weed, brush, edging or trimming problem.

c) Roundup biodegrades into naturally occurring elements.

d) Remember that versatile Roundup herbicide stays where you put it. That
means there's no washing or leaching to harm customers' shrubs or other
desirable vegetation.

e) This non-residual herbicide will not wash or leach in the soil. It ... stays
where you apply it.

f) You can apply Accord with “confidence because it will stay where you put
it” it bonds tightly to soil particles, preventing leaching. Then, soon after
application, soil microorganisms biodegrade Accord into natural products.

g) Glyphosate is less toxic to rats than table salt following acute oral ingestion.

h) Glyphosate's safety margin is much greater than required. It has over a
1,000-fold safety margin in food and over a 700-fold safety margin for

workers who manufacture it or use it.
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i) You can feel good about using herbicides by Monsanto. They carry a
toxicity category rating of ‘practically non-toxic' as it pertains to mammals,
birds and fish.

j “Roundup can be used where kids and pets will play and breaks down into
natural material.” This ad depicts a person with his head in the ground and
a pet dog standing in an area which has been treated with Roundup.

44. On November 19, 1996, Monsanto entered into an Assurance of Discontinuance
with NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing
or broadcasting any advertisements [in New York] that represent, directly or by implication” that:

a) its glyphosate-containing pesticide products or any component thereof are
safe, non-toxic, harmless or free from risk. ***

b) its glyphosate-containing pesticide products or any component thereof
manufactured, formulated, distributed or sold by Monsanto are
biodegradable ***

c) its glyphosate-containing pesticide products or any component thereof stay
where they are applied under all circumstances and will not move through
the environment by any means. ***

d) its glyphosate-containing pesticide products or any component thereof are
"good" for the environment or are "known for their environmental
characteristics." * * *

e) glyphosate-containing pesticide products or any component thereof are
safer or less toxic than common consumer products other than herbicides;

fp its glyphosate-containing products or any component thereof might be
classified as "practically non-toxic."

45. Monsanto did not alter its advertising in the same manner in any state other ‘han
New York, and on information and belief still has not done so today.

46. In 2009, France’s highest court ruled that Monsanto had not told the truth about the
safety of Roundup®. The French court affirmed an earlier judgement that Monsanto had falsely

advertised its herbicide Roundup® as “biodegradable” and that it “left the soil clean.”

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Classifications and Assessments of Glyphosate

47, The IARC process for the classification of glyphosate followed the stringent
procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program has
reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1 (Known
Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens); 287 agents to be
Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not Classified); and one
agent to be Probably Not Carcinogenic.

48. The established procedure for IARC Monograph evaluations is described in the
IARC Programme’s Preamble. Evaluations are performed by panels of international experts,
selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

49. One year before the Monograph meeting, the meeting is announced and there is a
call both for data and for experts. Eight months before the Monograph meeting, the Working Group
membership is selected and the sections of the Monograph are developed by the Working Group
members. One month prior to the Monograph meeting, the call for data is closed and the various
draft sections are distributed among Working Group members for review and comment. Finally,
at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the
evidence in each category, and completes the overall evaluation. Within two weeks after the
Monograph meeting, the summary of the Working Group findings is published in Lancet
Oncology, and within a year after the meeting, the final Monograph is finalized and published.

50.  Inassessing an agent, the IARC Working Group reviews the following information:

a) human, experimental, and mechanistic data;
b) all pertinent epidemiological studies and cancer bioassays; and
c) representative mechanistic data. The studies must be publicly available and

have sufficient detail for meaningful review, and reviewers cannot be

associated with the underlying study.
51. In March 2015, IARC reassessed glyphosate. The summary published in The
Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.
52. On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph 112. For
Volume 112, the volume that assessed glyphosate, a Working Group of 17 experts from 11

countries met at IARC from March 3-10, 2015, to assess the carcinogenicity of certain herbicides,

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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA

NO. DIVISION" "

YVETTE A. D’AUNOY
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IL.
1. Petitioner, Yvette A. D’Aunoy is an adult resident, citizen and domiciliary of the
State of Louisiana.
2. Made Defendants herein are the following, either foreign corporations licensed to

do and doing business in the State of Louisiana or domestic corporations licensed to do and doing
business in the State of Louisiana, or are individuals that are liable unto the Petitioner, for the
claims asserted herein:

A. MONSANTO COMPANY

B. HARRY’S HARDWARE, INC.

C. OHIO SECURITY INSURANCE COMPANY as the liability insurer of Harry’s

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3. Orleans Parish is a proper venue pursuant to Louisiana Code of Civil Procedure
Article 74 because Mrs. D’ Aunoy was exposed to Roundup in Orleans Parish. Accordingly, the
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4. Orleans Parish is a proper venue for this matter pursuant to Louisiana Code of Civil
Procedure Article 42(2) because Defendant Harry’s Hardware, Inc. is a domestic corporation
licensed to do business in this State and has designated as its primary business office and/or
primary place of business in Louisiana as Orleans Parish.

5. This action is within the jurisdiction of the court and Orleans Parish is a proper
venue pursuant to Louisiana Code of Civil Procedure article 73 because each of the defendants

listed above jointly contributed to Petitioner’s exposure to roundup and subsequent contraction of
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Chronic Lymphocytic Leukemia and therefore each is jointly liable to Petitioner with each of its
co-defendants, and defendant Harry’s Hardware and the insurer of Harry’s Hardwar are domiciled
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Il. INTRODUCTION

6. Plaintiff brings this cause of action against the Defendants as their claims arise out
of the same series of transactions and occurrences, and their claims involve common questions of
law and/or fact. All claims in this action are a direct and proximate result of Defendants’ negligent,
willful, and wrongful conduct in connection with the design, development, manufacture, testing,
packaging, promoting, marketing, distribution, and/or sale of Roundup and/or other Monsanto
glyphosate-containing products (“Roundup”). Plaintiff in this action seeks recovery for damages
as a result of developing Chronic Lymphocytic Leukemia (“CLL”) a subset of Non-Hodgkin’s
Lymphoma (“NHL”), which was directly and proximately caused by such wrongful conduct by
Defendants, the unreasonably dangerous and defective nature of Roundup, and its active
ingredient, glyphosate, and the attendant effects of developing NHL. Plaintiff did not know of an
association between exposure to Roundup® and the increased risk of developing CLL or NHL
until well after July 29, 2015, when the International Agency for Research on Cancer (“IARC”),
an agency of the World Health Organization (“WHO”), first published its evaluation of glyphosate.
All of the claims involve common questions of law and fact and share legal and medical issues
that arise out of all of the Plaintiffs’ exposures to Roundup.

I. THE PARTIES
Plaintiff

7. Plaintiff, Yvette D’Aunoy, is a resident of New Orleans, Louisiana. Mrs. D’ Aunoy
has a significant exposure history to Roundup. Mrs. D’Aunoy was a very avid gardener. At her
home, during the time period 1989-1993, Mrs. D’ Aunoy used Roundup on her driveway and along
the side of her house on a weekly basis. Mrs. D’Aunoy moved and continued to use Roundup.
Between the years of 1994-2003, she used Round up on a weekly basis (a little less in the winter).
Mrs. D’ Aunoy used it to the kill the weeds in the alleyway of her house on and near the concrete
of her house. Mrs. D’Aunoy had large gardens with flower beds and little grass and believed the
Roundup was easier to use that a weed whacker. Mrs. D’Aunoy’s use was more sporadic between
2003-2005 because by this time she had two young kids and not as much time to garden. After

her Katrina evacuation, Mrs. D’Aunoy’s yard was like “a jungle” and she used a lot of Roundup
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to get the weeds under control. Mrs. D’Aunoy continued to use Roundup on occasions and even
used it after her diagnosed with CLL in 2016. Mrs. D’ Aunoy used Roundup every spring to clear
out her herb garden which she would replant each year. Mrs. D’Aunoy purchased Roundup from
the Harry’s Ace Hardware on General Meyer in Algiers, Louisiana. Mrs. D’Aunoy is unable to
continue to garden due to her CLL. Mrs. D’Aunoy suffers from significant fatigue and does not
have the energy to garden after working a full day.

Contra Non Valentum

8. The prescriptive period does not start until the plaintiff knew or should have known
that her CLL was caused by Roundup. Here, the results of the plaintiffs exposures to glyphosate-
containing products was inherently undiscoverable and there was no warning that such exposures
could cause CLL. Mrs. D’Aunoy did not know the association between Roundup and CLL until
less than one year from this date.

9. In October 2016, Mrs. D’Aunoy was diagnosed with CLL. Mrs. D’Aunoy asked
but was not provided an answer at to the cause of her CLL. In October 2016, Mrs. D’Aunoy was
told that there is no cure for CLL and she would have to wait for symptoms to develop before
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Mrs. D’Aunoy did some research and found an FDA opinion/statement from 2015 that said
Roundup was not a carcinogen. In March 2019, Mrs. D’ Aunoy saw an article that reported about
the California verdict against Monsanto for Roundup causing the plaintiff's Non-Hodgkin’s
Lymphoma. In June 2019, Mrs. D’Aunoy learned about another California lawsuit against
Monsanto for Roundup. In August 2019, Mrs. D’ Aunoy found an article on a website for survivors
of CLL written by a Medical Doctor from MD Anderson associating CLL with Roundup. On
August 21, 2019, Mrs. D’Aunoy found an article that showed a 41% increased incidence of CLL
in people who used Roundup. Mrs. D’Aunoy filed suit directly thereafter in September of 2019.

Defendant
10. Defendant Monsanto Company (“Monsanto”) is a Delaware corporation with its
headquarters and principal place of business in St. Louis, Missouri and licensed to do business in
Louisiana.
11. At all times relevant to this petition, Monsanto was the entity that discovered the

herbicidal properties of glyphosate and the manufacturer of Roundup®.
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12. Harry’s Hardware, Inc. is Louisiana Corporation with its principle place of business
in New Orleans, Louisiana.
13. Ohio Security Insurance Company is an insurance company licensed to do business

in the State of Louisiana.

IV. ROUND UP

14. In 1970, Defendant Monsanto Company discovered the herbicidal properties of
glyphosate and began marketing it in products in 1974 under the brand name Roundup®.
Roundup® is a non-selective herbicide used to kill weeds that commonly compete with the
growing of crops. By 2001, glyphosate had become the most-used active ingredient in American
agriculture with 85-90 millions of pounds used annually. That number grew to 185 million pounds
by 2007. As of 2013, glyphosate was the world’s most widely used herbicide.

15. | Monsanto is a multinational agricultural biotechnology corporation based in St.
Louis, Missouri. It is the world's leading producer of glyphosate. As of 2009, Monsanto was the
world’s leading producer of seeds, accounting for 27% of the world seed market. The majority of
these seeds are of the Roundup Ready® brand. The stated advantage of Roundup Ready® crops
is that they substantially improve a farmer’s ability to control weeds, since glyphosate can be
sprayed in the fields during the growing season without harming their crops. In 2010, an estimated
70% of corn and cotton, and 90% of soybean fields in the United States were Roundup Ready®.

16. | Monsanto’s glyphosate products are registered in 130 countries and approved for
use on over 100 different crops. They are ubiquitous in the environment. Numerous studies
confirm that glyphosate is found in rivers, streams, and groundwater in agricultural areas where
Roundup® is used. It has been found in food, in the urine of agricultural workers, and even in the
urine of urban dwellers who are not in direct contact with glyphosate.

17. On March 20, 2015, the International Agency for Research on Cancer (“IARC”),
an agency of the World Health Organization (“WHO”), issued an evaluation of several herbicides,
including glyphosate. That evaluation was based, in part, on studies of exposures to glyphosate in

several countries around the world, and it traces the health implications from exposure to

glyphosate since 2001.
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18. On July 29, 2015, IARC issued the formal monograph relating to glyphosate. In
that monograph, the IARC Working Group provides a thorough review of the numerous studies
and data relating to glyphosate exposure in humans.

19. The IARC Working Group classified glyphosate as a Group 2A herbicide, which
means that it is probably carcinogenic to humans. The IARC Working Group concluded that the
cancers most associated with glyphosate exposure are non-Hodgkin lymphoma and other
hematopoietic cancers, including lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell
lymphoma, and multiple myeloma.

20. The IARC evaluation is significant. It confirms what has been believed for years:
that glyphosate is toxic to humans.

21. Nevertheless, Monsanto, since it began selling Roundup®, has represented it as
safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and continues
to proclaim to the world, and particularly to United States consumers, that glyphosate-based
herbicides, including Roundup®, create no unreasonable risks to human health or to the
environment.

V. FACTS

22. Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of
herbicidal products around the world.

23. Plants treated with glyphosate translocate the systemic herbicide to their roots,
shoot regions and fruit, where it interferes with the plant’s ability to form aromatic amino acids
necessary for protein synthesis. Treated plants generally die within two to three days. Because
plants absorb glyphosate, it cannot be completely removed by washing or peeling produce or by
milling, baking, or brewing grains.

24.  Fornearly 40 years, farms across the world have used Roundup® without knowing
of the dangers its use poses. That is because when Monsanto first introduced Roundup®, it touted
glyphosate as a technological breakthrough: it could kill almost every weed without causing harm
either to people or to the environment. Of course, history has shown that not to be true. According
to the WHO, the main chemical ingredient of Roundup®—glyphosate—is a probable cause of
cancer. Those most at risk are farm workers and other individuals with workplace exposure to
Roundup®, such as workers in garden centers, nurseries, and landscapers. Agricultural workers

are, once again, victims of corporate greed. Monsanto assured the public that Roundup® was
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harmless. In order to prove this, Monsanto championed falsified data and attacked legitimate

studies that revealed its dangers. Monsanto led a prolonged campaign of misinformation to

convince government agencies, farmers, and the general population that Roundup® was safe.
The Discovery of Glyphosate and Development of Roundup®

25. The herbicidal properties of glyphosate were discovered in 1970 by Monsanto
chemist John Franz. The first glyphosate-based herbicide was introduced to the market in the mid-
1970s under the brand name Roundup®. From the outset, Monsanto marketed Roundup® as a
“safe” general-purpose herbicide for widespread commercial and consumer use; Monsanto still
markets Roundup® as safe today.

Registration of Herbicides under Federal Law

26. The manufacture, formulation and distribution of herbicides, such as Roundup®,
are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA” or “Act’),
7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental
Protection Agency (“EPA” or “Agency”) prior to their distribution, sale, or use, except as
described by the Act. 7 U.S.C. § 136a(a).

27. Because pesticides are toxic to plants, animals, and humans, at least to some degree,
the EPA requires as part of the registration process, among other things, a variety of tests to
evaluate the potential for exposure to pesticides, toxicity to people and other potential non-target
organisms, and other adverse effects on the environment. Registration by the EPA, however, is not
an assurance or finding of safety. The determination the Agency must make in registering or re-
registering a product is not that the product is “safe,” but rather that use of the product in
accordance with its label directions “will not generally cause unreasonable adverse effects on the
environment.” 7 U.S.C. § 136a(c)(5)(D).

28. FIFRA defines “unreasonable adverse effects on the environment” to mean “any
unreasonable risk to man or the environment, taking into account the economic, social, and
environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus
requires EPA to make a risk/benefit analysis in determining whether a registration should be
granted or allowed to continue to be sold in commerce.

29. The EPA registered Roundup® for distribution, sale, and manufacture in the United

States.
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30. FIFRA generally requires that the registrant, Monsanto in the case of Roundup®,
conducts the health and safety testing of pesticide products. The EPA has protocols governing the
conduct of tests required for registration and the laboratory practices that must be followed in
conducting these tests. The data produced by the registrant must be submitted to the EPA for
review and evaluation. The government is not required, nor is it able, however, to perform the
product tests that are required of the manufacturer.

31. The evaluation of each pesticide product distributed, sold, or manufactured is
completed at the time the product is initially registered. The data necessary for registration of a
pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide
products through a Congressionally-mandated process called “re-registration.” 7 U.S.C. § 136a-1.
In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests
and the submission of data for the EPA’s review and evaluation.

32. In the case of glyphosate, and therefore Roundup®, the EPA had planned on
releasing its preliminary risk assessment —in relation to the re-registration process—no later than
July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed releasing the
risk assessment pending further review in light of the WHO’s health-related findings.

Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup

33. Based on early studies that glyphosate could cause cancer in laboratory animals,
the EPA originally classified glyphosate as possibly carcinogenic to humans (Group C) in 1985.
After pressure from Monsanto, including contrary studies it provided to the EPA, the EPA changed
its classification to evidence of non-carcinogenicity in humans (Group E) in 1991. In so classifying
glyphosate, however, the EPA made clear that the designation did not mean the chemical does not
cause cancer: “Jt should be emphasized, however, that designation of an agent in Group E is based
on the available evidence at the time of evaluation and should not be interpreted as a definitive
conclusion that the agent will not be a carcinogen under any circumstances.”

34. On two occasions, the EPA found that the laboratories hired by Monsanto to test
the toxicity of its Roundup® products for registration purposes committed fraud.

35. Inthe first instance, Monsanto, in seeking initial registration of Roundup® by EPA,
hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate pesticide toxicology
studies relating to Roundup®. IBT performed about 30 tests on glyphosate and glyphosate-

containing products, including nine of the 15 residue studies needed to register Roundup®.
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36. In 1976, the United States Food and Drug Administration (“FDA”) performed an
inspection of Industrial Bio-Test Industries (“IBT”) that revealed discrepancies between the raw
data and the final report relating to the toxicological impacts of glyphosate. The EPA subsequently
audited IBT; it too found the toxicology studies conducted for the Roundup® herbicide to be
invalid. An EPA reviewer stated, after finding “routine falsification of data” at IBT, that it was
“hard to believe the scientific integrity of the studies when they said they took specimens of the
uterus from male rabbits.”

37. Three top executives of IBT were convicted of fraud in 1983.

38. In the second incident of data falsification, Monsanto hired Craven Laboratories in
1991 to perform pesticide and herbicide studies, including for Roundup®. In that same year, the
owner of Craven Laboratories and three of its employees were indicted, and later convicted, of
fraudulent laboratory practices in the testing of pesticides and herbicides.

39. Despite the falsity of the tests that underlie its registration, within a few years of its
launch, Monsanto was marketing Roundup® in 115 countries.

The Importance of Roundup® to Monsanto’s Market Dominance Profits

40. The success of Roundup® was key to Monsanto’s continued reputation and
dominance in the marketplace. Largely due to the success of Roundup® sales, Monsanto’s
agriculture division was out-performing its chemicals division’s operating income, and that gap
increased yearly. But with its patent for glyphosate expiring in the United States in the year 2000,
Monsanto needed a strategy to maintain its Roundup® market dominance and to ward off
impending competition.

41. In response, Monsanto began the development and sale of genetically engineered
Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to glyphosate; farmers
can spray Roundup® onto their fields during the growing season without harming the crop. This
allowed Monsanto to expand its market for Roundup® even further; by 2000, Monsanto’s
biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of
American soybeans were planted from Roundup Ready® seeds. It also secured Monsanto’s
dominant share of the glyphosate/Roundup® market through a marketing strategy that coupled
proprietary Roundup Ready® seeds with continued sales of its Roundup® herbicide.

42. Through a three-pronged strategy of increased production, decreased prices, and by

coupling with Roundup Ready® seeds, Roundup® became Monsanto’s most profitable product.
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In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other herbicides by a
margin of five to one, and accounting for close to half of Monsanto’s revenue. Today, glyphosate
remains one of the world's largest herbicides by sales volume.

Monsanto has known for decades that it falsely advertises the safety of Roundup®.

43. In 1996, the New York Attorney General (““NYAG”) filed a lawsuit against
Monsanto based on its false and misleading advertising of Roundup ® products. Specifically, the
lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based
herbicides, including Roundup®, were “safer than table salt” and "practically non-toxic" to
mamunals, birds, and fish. Among the representations the NYAG found deceptive and misleading
about the human and environmental safety of Roundup® are the following:

a) Remember that environmentally friendly Roundup herbicide is
biodegradable. It won't build up in the soil so you can use Roundup with
confidence along customers' driveways, sidewalks and fences ...

b) And remember that Roundup is biodegradable and won't build up in the soil.
That will give you the environmental confidence you need to use Roundup
everywhere you've got a weed, brush, edging or trimming problem.

c) Roundup biodegrades into naturally occurring elements.

d) Remember that versatile Roundup herbicide stays where you put it. That
means there's no washing or leaching to harm customers’ shrubs or other

desirable vegetation.

e) This non-residual herbicide will not wash or leach in the soil. It ... stays
where you apply it.
f) You can apply Accord with “confidence because it will stay where you put

it” it bonds tightly to soil particles, preventing leaching. Then, soon after
application, soil microorganisms biodegrade Accord into natural products.
g) Glyphosate is less toxic to rats than table salt following acute oral ingestion.
h) Glyphosate's safety margin is much greater than required. It has over a
1,000-fold safety margin in food and over a 700-fold safety margin for

workers who manufacture it or use it.
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i) You can feel good about using herbicides by Monsanto. They carry a
toxicity category rating of 'practically non-toxic’ as it pertains to mammals,
birds and fish.

j) “Roundup can be used where kids and pets will play and breaks down into
natural material.” This ad depicts a person with his head in the ground and
a pet dog standing in an area which has been treated with Roundup.

44. On November 19, 1996, Monsanto entered into an Assurance of Discontinuance
with NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing
or broadcasting any advertisements [in New York] that represent, directly or by implication” that:

a) its glyphosate-containing pesticide products or any component thereof are
safe, non-toxic, harmless or free from risk. ***

b) its glyphosate-containing pesticide products or any component thereof
manufactured, formulated, distributed or sold by Monsanto are
biodegradable ***

c) its glyphosate-containing pesticide products or any component thereof stay
where they are applied under all circumstances and will not move through
the environment by any means. ***

d) its glyphosate-containing pesticide products or any component thereof are
"good" for the environment or are "known for their environmental
characteristics." * * *

e) glyphosate-containing pesticide products or any component thereof are
safer or less toxic than common consumer products other than herbicides;

f) its glyphosate-containing products or any component thereof might be
classified as "practically non-toxic."

45. | Monsanto did not alter its advertising in the same manner in any state other than
New York, and on information and belief still has not done so today.

46. In 2009, France’s highest court ruled that Monsanto had not told the truth about the
safety of Roundup®. The French court affirmed an earlier judgement that Monsanto had falsely

advertised its herbicide Roundup® as “biodegradable” and that it “left the soil clean.”

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Classifications and Assessments of Glyphosate

47. The IARC process for the classification of glyphosate followed the stringent
procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program has
reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1 (Known
Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens); 287 agents to be
Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not Classified); and one
agent to be Probably Not Carcinogenic.

48. The established procedure for IARC Monograph evaluations is described in the
IARC Programme’s Preamble. Evaluations are performed by panels of international experts,
selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

49. One year before the Monograph meeting, the meeting is announced and there is a
call both for data and for experts. Eight months before the Monograph meeting, the Working Group
membership is selected and the sections of the Monograph are developed by the Working Group
members. One month prior to the Monograph meeting, the call for data is closed and the various
draft sections are distributed among Working Group members for review and comment. Finally,
at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the
evidence in each category, and completes the overall evaluation. Within two weeks after the
Monograph meeting, the summary of the Working Group findings is published in Lancet
Oncology, and within a year after the meeting, the final Monograph is finalized and published.

50. _—_Inassessing an agent, the IARC Working Group reviews the following information:

a) human, experimental, and mechanistic data;
b) all pertinent epidemiological studies and cancer bioassays; and
c) representative mechanistic data. The studies must be publicly available and

have sufficient detail for meaningful review, and reviewers cannot be
associated with the underlying study.

51. In March 2015, IARC reassessed glyphosate. The summary published in The
Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in
humans.

52. On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph 112. For
Volume 112, the volume that assessed glyphosate, a Working Group of 17 experts from 11

countries met at IARC from March 3-10, 2015, to assess the carcinogenicity of certain herbicides,

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including glyphosate. The March meeting culminated nearly a one-year review and preparation by
the IARC Secretariat and the Working Group, including a comprehensive review of the latest
available scientific evidence. According to published procedures, the Working Group considered
“reports that have been published or accepted for publication in the openly available scientific
literature” as well as “data from governmental reports that are publicly available.”

53. The studies considered the following exposure groups: occupational exposure of
farmers and tree nursery workers in the United States, forestry workers in Canada and Finland,
and municipal weed-control workers in the United Kingdom; and para-occupational exposure in
farming families.

54. Glyphosate was identified as the second-most used household herbicide in the
United States for weed control between 2001 and 2007 and the most heavily used herbicide in the
world in 2012.

55. Exposure pathways are identified as air (especially during spraying), water, and
food. Community exposure to glyphosate is widespread and found in soil, air, surface water, and
groundwater, as well as in food.

56. The assessment of the IARC Working Group identified several case control studies
of occupational exposure in the United States, Canada, and Sweden. These studies show a human
health concern from agricultural and other work-related exposure to glyphosate.

57. The IARC Working Group found an increased risk between exposure to glyphosate
and non-Hodgkin lymphoma (“NHL”) and several subtypes of NHL, and the increased risk
persisted after adjustment for other pesticides.

58. The IARC Working Group also found that glyphosate caused DNA and
chromosomal damage in human cells. One study in community residents reported increases in
blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

59. Inmale CD-1 mice, glyphosate induced a positive trend in the incidence of a rare
tumor, renal tubule carcinoma. A second study reported a positive trend for hemangiosarcoma in
male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A
glyphosate formulation promoted skin tumors in an initiation-promotion study in mice.

60. TheIARC Working Group also noted that glyphosate has been detected in the urine

of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to

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aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure suggests intestinal
microbial metabolism in humans.

61. The IARC Working Group further found that glyphosate and glyphosate
formulations induced DNA and chromosomal damage in mammals, and in human and animal cells
in utero.

62. The IARC Working Group also noted genotoxic, hormonal, and enzymatic effects
in mammals exposed to glyphosate. Essentially, glyphosate inhibits the biosynthesis of aromatic
amino acids, which leads to several metabolic disturbances, including the inhibition of protein and
secondary product biosynthesis and general metabolic disruption.

63. The IARC Working Group also reviewed an Agricultural Health Study, consisting
of a prospective cohort of 57,311 licensed pesticide applicators in Jowa and North Carolina. While
this study differed from others in that it was based on a self-administered questionnaire, the results
support an association between glyphosate exposure and Multiple Myeloma, Hairy Cell Leukemia
(HCL), and Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.

Other Earlier Findings About Glyphosate’s Dangers to Human Health

64. The EPA has a technical fact sheet, as part of its Drinking Water and Health,
National Primary Drinking Water Regulations publication, relating to glyphosate. This technical
fact sheet predates the IARC March 20, 2015, evaluation. The fact sheet describes the release
patterns for glyphosate as follows:

Release Patterns

65.  Glyphosate is released to the environment in its use as a herbicide for controlling
woody and herbaceous weeds on forestry, right-of-way, cropped and non-cropped sites. These
sites may be around water and in wetlands. It may also be released to the environment during its
manufacture, formulation, transport, storage, disposal, and cleanup, and from spills. Since
glyphosate is not a listed chemical in the Toxics Release Inventory, data on releases during its
manufacture and handling are not available. Occupational workers and home gardeners may be
exposed to glyphosate by inhalation and dermal contact during spraying, mixing, and cleanup.
They may also be exposed by touching soil and plants to which glyphosate was applied.
Occupational exposure may also occur during glyphosate's manufacture, transport storage, and

disposal.

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66. In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in
California, the state with the most comprehensive program for reporting of pesticide-caused
illness, glyphosate was the third most commonly-reported cause of pesticide illness among
agricultural workers.

Recent Worldwide Bans on Roundup®/Glyphosate

67. Several countries around the world have instituted bans on the sale of Roundup®
and other glyphosate-containing herbicides, both before and since JARC first announced its
assessment for glyphosate in March 2015, and more countries undoubtedly will follow suit as the
dangers of the use of Roundup® are more widely known. The Netherlands issued a ban on all
glyphosate-based herbicides in April 2014, including Roundup®, which took effect by the end of
2015. In issuing the ban, the Dutch Parliament member who introduced the successful legislation
stated: “Agricultural pesticides in user-friendly packaging are sold in abundance to private persons.
In garden centers, Roundup® is promoted as harmless, but unsuspecting customers have no idea
what the risks of this product are. Especially children are sensitive to toxic substances and should
therefore not be exposed to it.”

68. The Brazilian Public Prosecutor in the Federal District requested that the Brazilian
Justice Department suspend the use of glyphosate.

69. France banned the private sale of Roundup® and glyphosate following the IARC
assessment for Glyphosate.

70. Bermuda banned both the private and commercial sale of glyphosates, including
Roundup®. The Bermuda government explained its ban as follows: “Following a recent scientific
study carried out by a leading cancer agency, the importation of weed spray ‘Roundup’ has been
suspended.”

71. The Sri Lankan government banned the private and commercial use of glyphosates,
particularly out of concern that glyphosate has been linked to fatal kidney disease in agricultural
workers.

72. The government of Columbia announced its ban on using Roundup® and
glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the
WHO’s finding that glyphosate is probably carcinogenic.

73. The running of any statute of limitations has been tolled by reason of Defendant’s

fraudulent concealment. Defendant, through its affirmative misrepresentations and omissions,

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actively concealed from Plaintiffs the true risks associated with Roundup and glyphosate.

74, At all relevant times, Defendant has maintained that Roundup is safe, non-toxic,
and non-carcinogenic.

75. Indeed, even as of July 2016, Defendant continued to represent to the public that
“Regulatory authorities and independent experts around the world have reviewed numerous long-
term/carcinogenicity and genotoxicity studies and agree that there is no evidence that glyphosate,
the active ingredient in Roundup® brand herbicides and other glyphosate-based herbicides, causes
cancer, even at very high doses, and that it is not genotoxic” (emphasis added).!

76. As a result of Defendant’s actions, Plaintiffs were unaware, and could not
reasonably know or have learned through reasonable diligence that Roundup and/or glyphosate
contact, exposed Plaintiffs to the risks alleged herein and that those risks were the direct and
proximate result of Defendant’s acts and omissions.

77. Furthermore, Defendant is estopped from relying on any statute of limitations
because of its fraudulent concealment of the true character, quality and nature of Roundup.
Defendant was under a duty to disclose the true character, quality, and nature of Roundup because
this was non-public information over which Defendant had and continues to have exclusive
control, and because Defendant knew that this information was not available to Plaintiffs or to
distributors of Roundup. In addition, Defendant is estopped from relying on any statute of
limitations because of its intentional concealment of these facts.

78. Plaintiffs had no knowledge that Defendant was engaged in the wrongdoing alleged
herein. Because of the fraudulent acts of concealment of wrongdoing by Defendant, Plaintiffs
could not have reasonably discovered the wrongdoing at any time prior. Also, the economics of
this fraud should be considered. Defendant had the ability to and did spend enormous amounts of
money in furtherance of its purpose of marketing, promoting and/or distributing a profitable
herbicide, notwithstanding the known or reasonably known risks. Plaintiff and medical
professionals could not have afforded and could not have possibly conducted studies to determine
the nature, extent, and identity of related health risks, and were forced to rely on only the
Defendant’s representations. Accordingly, Defendant is precluded by the discovery rule and/or the

doctrine of fraudulent concealment from relying upon any statute of limitations.

1 Backgrounder - Glyphosate: No Evidence of Carcinogenicity. Updated November 2014. (downloaded October 9,
2015)

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VI. CLAIMS

LPLA UNREASONABLY DANGEROUS IN CONSTRUCITON, COMPOSITION,
DESIGN, AND FAILURE TO CONFORM TO EXPRESS WARRANTY
(AGAINST MONSANTO)

79. Plaintiffs incorporate by reference each and every allegation set forth in the
preceding paragraphs as if fully stated herein.

80. Plaintiffs bring this strict liability claim against Monsanto for unreasonably
dangerous in construction, composition, design and failure to conform to express warrant.

81. At all times relevant to this litigation, Monsanto engaged in the business of testing,
developing, manufacturing, selling, distributing, and Monsanto engaged in the marketing,
packaging design, and promotion of Roundup® products, which are defective and unreasonably
dangerous to consumers, including Plaintiffs, thereby placing Roundup® products into the stream
of commerce. These actions were under the ultimate control and supervision of Monsanto. At all
times relevant to this litigation, Monsanto designed, researched, developed, manufactured,
produced, tested, assembled, labeled, advertised, promoted, marketed, sold, and distributed the
Roundup® products used by the Plaintiffs, as described above.

82. At all times relevant to this litigation, Roundup® products were manufactured,
designed, and labeled in an unsafe, defective, and inherently dangerous manner that was dangerous
for use by or exposure to the public, and, in particular, the Plaintiffs.

83. At all times relevant to this litigation, Roundup® products reached the intended
consumers, handlers, and users or other persons coming into contact with these products in
Missouri and throughout the United States, including Plaintiffs, without substantial change in their
condition as designed, manufactured, sold, distributed, labeled, and marketed by Monsanto.

84. Roundup® products, as researched, tested, developed, designed, licensed,
manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in
design and formulation in that when they left the hands of the manufacturers and/or suppliers, they
were unreasonably dangerous and dangerous to an extent beyond that which an ordinary consumer
would contemplate.

85. Roundup® products, as researched, tested, developed, designed, licensed,
manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in
design and formulation in that when they left the hands of the manufacturers and/or suppliers, the

foreseeable risks exceeded the alleged benefits associated with their design and formulation.
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86. At all times relevant to this action, Monsanto knew or had reason to know that
Roundup® products were defective and were inherently dangerous and unsafe when used in the
manner instructed and provided by Monsanto.

87. Therefore, at all times relevant to this litigation, Roundup® products, as researched,
tested, developed, designed, licensed, manufactured, packaged, labeled, distributed, sold, and
marketed by Monsanto were defective in design and formulation, in one or more of the following
ways:

a) When placed in the stream of commerce, Roundup® products were
defective in design and formulation, and, consequently, dangerous to an
extent beyond that which an ordinary consumer would contemplate.

b) When placed in the stream of commerce, Roundup® products were
unreasonably dangerous in that they were hazardous and posed a grave risk
of cancer and other serious illnesses when used in a reasonably anticipated
manner.

c) When placed in the stream of commerce, Roundup® products contained
unreasonably dangerous design defects and were not reasonably safe when
used in a reasonably anticipated or intended manner.

d) Monsanto did not sufficiently test, investigate, or study Roundup® products
and, specifically, the active ingredient glyphosate.

e) Exposure to Roundup® and glyphosate-containing products presents a risk
of harmful side effects that outweigh any potential utility stemming from
the use of the herbicide.

f) At the time of marketing its Roundup® products, Roundup® was defective
in that exposure to Roundup® and specifically, its active ingredient
glyphosate, could result in cancer and other severe illnesses and injuries.

g) Monsanto did not conduct adequate post-marketing surveillance of its
Roundup® products.

h) Monsanto could have employed safer alternative designs and formulations.

88. Plaintiffs were exposed to Roundup® products in the course of their work, as

described above, without knowledge of their dangerous characteristics.

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89. At all times relevant to this litigation, Plaintiffs used and/or were exposed to the
use of Roundup® products in an intended or reasonably foreseeable manner without knowledge
of their dangerous characteristics.

90. Plaintiff could not have reasonably discovered the defects and risks associated with
Roundup® or glyphosate-containing products before or at the time of exposure.

91. The harm caused by Roundup® products far outweighed their benefit, rendering
these products dangerous to an extent beyond that which an ordinary consumer would contemplate.
Roundup® products were and are more dangerous than alternative products and Monsanto could
have designed Roundup® products (including their packaging and sales aids) to make them less
dangerous. Indeed, at the time that Monsanto designed Roundup® products, the state of the
industry’s scientific knowledge was such that a less risky design or formulation was attainable.

92. At the time Roundup® products left Monsanto’s control, there was a practical,
technically feasible and safer alternative design that would have prevented the harm without
substantially impairing the reasonably anticipated or intended function of those herbicides.

93. Monsanto’s defective design of Roundup® products was willful, wanton,
fraudulent, malicious, and conducted with reckless disregard for the health and safety of users of
the Roundup® products, including the Plaintiffs herein.

94. Therefore, as a result of the unreasonably dangerous condition of its Roundup®
products, Monsanto is strictly liable to Plaintiffs.

95. The defects in Roundup® products caused or contributed to cause Plaintiffs’ grave
injuries, and, but for Monsanto’s misconduct and omissions, Plaintiffs would not have sustained
their injuries.

96. Monsanto’s conduct, as described above, was reckless. Monsanto risked the lives
of consumers and users of its products, including Plaintiffs, with knowledge of the safety problems
associated with Roundup® and glyphosate-containing products, and suppressed this knowledge
from the general public. Monsanto made conscious decisions not to redesign, warn, or inform the
unsuspecting public. Monsanto’s reckless conduct warrants an award of aggravated damages.

97.  Asadirect and proximate result of Monsanto placing defective Roundup® products
into the stream of commerce, Plaintiffs have suffered and continue to suffer grave injuries, and
have endured physical pain and discomfort, as well as economic hardship, including considerable

financial expenses for medical care and treatment.

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LPLA FAILURE TO WARN
(AGAINST MONSANTO)

98. Plaintiffs incorporate by reference each and every allegation set forth in the
preceding paragraphs as if fully stated herein.

99. Plaintiffs bring this strict liability claim against Monsanto for failure to warn.

100. At all times relevant to this litigation, Monsanto engaged in the business of testing,
developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup®
products, which are defective and unreasonably dangerous to consumers, including Plaintiffs,
because they do not contain adequate warnings or instructions concerning the dangerous
characteristics of Roundup® and, specifically, the active ingredient glyphosate. These actions
were under the ultimate control and supervision of Monsanto.

101. Monsanto researched, developed, designed, tested, manufactured, inspected,
labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of commerce
Roundup® products, and in the course of same, directly advertised or marketed the products to
consumers and end users, including the Plaintiffs, and therefore had a duty to warn of the risks
associated with the use of Roundup® and glyphosate-containing products.

102. Atall times relevant to this litigation, Monsanto had a duty to properly test, develop,
design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain supply,
provide proper warnings, and take such steps as necessary to ensure that Roundup® products did
not cause users and consumers to suffer from unreasonable and dangerous risks. Monsanto had a
continuing duty to warn the Plaintiffs of the dangers associated with Roundup® use and exposure.
Monsanto, as manufacturer, seller, promoter, marketer, or distributor of chemical herbicides are
held to the knowledge of an expert in the field.

103. At the time of manufacture, Monsanto could have provided the warnings or
instructions regarding the full and complete risks of Roundup® and glyphosate-containing
products because it knew or should have known of the unreasonable risks of harm associated with
the use of and/or exposure to such products.

104.  Atall times relevant to this litigation, Monsanto failed to investigate, study, test, or
promote the safety or to minimize the dangers to users and consumers of its product and to those
who would foreseeably use or be harmed by these herbicides, including Plaintiffs.

105. Despite the fact that Monsanto knew or should have known that Roundup® posed

a grave risk of harm, it failed to exercise reasonable care to warn of the dangerous risks associated
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with use and exposure. The dangerous propensities of these products and the carcinogenic
characteristics of glyphosate, as described above, were known to Monsanto, or scientifically
knowable to Monsanto through appropriate research and testing by known methods, at the time it
distributed, marketed, promoted, supplied, or sold the product, and not known to end users and
consumers, such as Plaintiffs.

106. These products created significant risks of serious bodily harm to consumers, as
alleged herein, and Monsanto failed to adequately warn consumers and reasonably foreseeable
users of the risks of exposure to its products. Monsanto has wrongfully concealed information
concerning the dangerous nature of Roundup® and its active ingredient glyphosate, and further
made false and/or misleading statements concerning the safety of Roundup® and glyphosate.

107. At all times relevant to this litigation, Roundup® products reached the intended
consumers, handlers, and users or other persons coming into contact with these products in
Missouri and throughout the United States, including Plaintiffs, without substantial change in their
condition as designed, manufactured, sold, distributed, labeled, promoted, and marketed by
Monsanto.

108. Plaintiffs were exposed to Roundup® products in the course of their employment .
and/or personal use of Roundup, without knowledge of its dangerous characteristics.

109. At all times relevant to this litigation, Plaintiffs used and/or were exposed to the
use of Roundup® products in their intended or reasonably foreseeable manner without knowledge
of their dangerous characteristics.

110. Plaintiffs could not have reasonably discovered the defects and risks associated
with Roundup® or glyphosate-containing products prior to or at the time of Plaintiffs’ exposure.
Plaintiffs relied upon the skill, superior knowledge, and judgment of Monsanto.

111. These products were defective because the minimal warnings disseminated with
Roundup® products were inadequate, and they failed to communicate adequate information on the
dangers and safe use/exposure and failed to communicate warnings and instructions that were
appropriate and adequate to render the products safe for their ordinary, intended, and reasonably
foreseeable uses, including agricultural and landscaping applications.

112. The information that Monsanto did provide or communicate failed to contain
relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

to utilize the products safely and with adequate protection. Instead, Monsanto disseminated

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information that was inaccurate, false, and misleading and which failed to communicate accurately
or adequately the comparative severity, duration, and extent of the risk of injuries with use of
and/or exposure to Roundup® and glyphosate; continued to aggressively promote the efficacy of
its products, even after it knew or should have known of the unreasonable risks from use or
exposure; and concealed, downplayed, or otherwise suppressed, through aggressive marketing and
promotion, any information or research about the risks and dangers of exposure to Roundup® and
glyphosate.

113. To this day, Monsanto has failed to adequately and accurately warn of the true risks
of Plaintiffs’ injuries associated with the use of and exposure to Roundup® and its active
ingredient glyphosate, a probable carcinogen.

114. As a result of their inadequate warnings, Roundup® products were defective and
unreasonably dangerous when they left the possession and/or control of Monsanto, were
distributed, marketed, and promoted by Monsanto, and used by Plaintiffs in their work.

115. Monsanto is liable to Plaintiffs for injuries caused by its negligent or willful failure,
as described above, to provide adequate warnings or other clinically relevant information and data
regarding the appropriate use of these products and the risks associated with the use of or exposure
to Roundup® and glyphosate.

116. The defects in Roundup® products caused or contributed to cause Plaintiffs’
injuries, and, but for this misconduct and omissions, Plaintiffs would not have sustained their
injuries.

117. Had Monsanto provided adequate warnings and instructions and properly disclosed
and disseminated the risks associated with Roundup® products, Plaintiffs could have avoided the
risk of developing injuries as alleged herein.

118. Asadirect and proximate result of Monsanto placing defective Roundup® products
into the stream of commerce, Plaintiffs have suffered severe injuries and have endured physical
pain and discomfort, as well as economic hardship, including considerable financial expenses for

medical care and treatment.

LPLA FAILURE TO WARN
(AGAINST HARRY’S HARDWARE AND ITS INSURER)

119. Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

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120. Plaintiffs bring this claim against Harry’s Hardware and its insurer for failure to
warn.

121. Atall times relevant to this litigation, Harry’s Hardware engaged in the business of
marketing, selling, distributing, and promoting Roundup® products, which are defective and
unreasonably dangerous to consumers, including Plaintiffs, because they do not contain adequate
warnings or instructions concerning the dangerous characteristics of Roundup® and, specifically,
the active ingredient glyphosate. These actions were under the ultimate control and supervision of
Monsanto.

122. Harry’s Hardware marketed, promoted, sold, and otherwise released into the stream
of commerce Roundup® products, and in the course of same, directly advertised or marketed the
products to consumers and end users, including the Plaintiffs, and therefore had a duty to warn of
the risks associated with the use of Roundup® and glyphosate-containing products.

123.  Atall times relevant to this litigation, Harry’s Hardware had a duty to properly test,
develop, design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain
supply, provide proper warnings, and take such steps as necessary to ensure that Roundup®
products did not cause users and consumers to suffer from unreasonable and dangerous risks.
Harry’s Hardware had a continuing duty to warn the Plaintiffs of the dangers associated with
Roundup® use and exposure. Harry’s Hardware as a seller, promoter, marketer, or distributor of
chemical herbicides are held to the knowledge of an expert in the field.

124. Atall times relevant to this litigation, Harry’s Hardware failed to investigate, study,
test, or promote the safety or to minimize the dangers to users and consumers of its product and to
those who would foreseeably use or be harmed by these herbicides, including Plaintiffs.

125. The dangerous propensities of these products and the carcinogenic characteristics
of glyphosate, as described above, were known to Harry’s Hardware, or scientifically knowable to
Harry’s Hardware through appropriate research and testing by known methods, at the time it
distributed, marketed, promoted, supplied, or sold the product, and not known to end users and
consumers, such as Plaintiffs.

126. These products created significant risks of serious bodily harm to consumers, as
alleged herein, and Harry’s Hardware failed to adequately warn consumers and reasonably

foreseeable users of the risks of exposure to its products.

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127. At all times relevant to this litigation, Roundup® products reached the intended
consumers, handlers, and users or other persons coming into contact with these products in
Louisiana and throughout the United States, including Plaintiffs, without substantial change in
their condition as designed, manufactured, sold, distributed, labeled, promoted, and marketed by
Monsanto.

128. Plaintiffs were exposed to Roundup® products in the course of their employment
and/or personal use of Roundup, without knowledge of its dangerous characteristics.

129. At all times relevant to this litigation, Plaintiffs used and/or were exposed to the
use of Roundup® products in their intended or reasonably foreseeable manner without knowledge
of their dangerous characteristics.

130. Plaintiffs could not have reasonably discovered the defects and risks associated
with Roundup® or glyphosate-containing products prior to or at the time of Plaintiffs’ exposure.
Plaintiffs relied upon the skill, superior knowledge, and judgment of Harry’s Hardware.

131. These products were defective because the minimal warnings disseminated with
Roundup® products were inadequate, and they failed to communicate adequate information on the
dangers and safe use/exposure and failed to communicate warnings and instructions that were
appropriate and adequate to render the products safe for their ordinary, intended, and reasonably
foreseeable uses, including agricultural and landscaping applications.

132. Harry’s Hardware continued to aggressively promote the efficacy of its products,
even after it knew or should have known of the unreasonable risks from use or exposure; and
concealed, downplayed, or otherwise suppressed, through aggressive marketing and promotion,
any information or research about the risks and dangers of exposure to Roundup® and glyphosate.

133. To this day, Harry’s Hardware has failed to adequately and accurately warn of the
true risks of Plaintiffs’ injuries associated with the use of and exposure to Roundup® and its active
ingredient glyphosate, a probable carcinogen.

134. Asa result of their inadequate warnings, Roundup® products were defective and
unreasonably dangerous when they left the possession and/or control of Harry’s Hardware, were
distributed, marketed, and promoted by Monsanto, and used by Plaintiffs in their work.

135. Harry’s Hardware is liable to Plaintiffs for injuries caused by its negligent or willful

failure, as described above, to provide adequate warnings or other clinically relevant information

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and data regarding the appropriate use of these products and the risks associated with the use of or
exposure to Roundup® and glyphosate.

136. The defects in Roundup® products caused or contributed to cause Plaintiffs’
injuries, and, but for this misconduct and omissions, Plaintiffs would not have sustained their
injuries.

137. Had Harry’s Hardware provided adequate warnings and instructions and properly
disclosed and disseminated the risks associated with Roundup® products, Plaintiffs could have
avoided the risk of developing injuries as alleged herein.

138. Asadirect and proximate result of Monsanto placing defective Roundup® products
into the stream of commerce, Plaintiffs have suffered severe injuries and have endured physical
pain and discomfort, as well as economic hardship, including considerable financial expenses for

medical care and treatment.

COUNT
NEGLIGENCE
(AGAINST MONSANTO and HARRY’S HARWARE)

139. Plaintiffs incorporate by reference each and every allegation set forth in the
preceding paragraphs as if fully stated herein.

140. Monsanto and Harry’s Hardware, directly or indirectly, caused Roundup® products
to be sold, distributed, packaged, labeled, marketed, promoted, and/or used by Plaintiffs.

141. Atall times relevant to this litigation, Monsanto and Harry’s Hardware had a duty
to exercise reasonable care in the design, research, manufacture, marketing, advertisement, supply,
promotion, packaging, sale, and distribution of Roundup® products, including the duty to take all
reasonable steps necessary to manufacture, promote, and/or sell a product that was not
unreasonably dangerous to consumers and users of the product.

142. Atall times relevant to this litigation, Monsanto and Harry’s Hardware had a duty
to exercise reasonable care in the marketing, advertisement, and sale of the Roundup® products.
Monsanto’s and Harry’s Hardware’s duty of care owed to consumers and the general public
included providing accurate, true, and correct information concerning the risks of using Roundup®
and appropriate, complete, and accurate warnings concerning the potential adverse effects of

exposure to Roundup®, and, in particular, its active ingredient glyphosate.

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143. At all times relevant to this litigation, Monsanto and Harry’s Hardware knew or, in
the exercise of reasonable care, should have known of the hazards and dangers of Roundup® and
specifically, the carcinogenic properties of the chemical glyphosate.

144. Accordingly, at all times relevant to this litigation, Monsanto and Harry’s Hardware
knew or, in the exercise of reasonable care, should have known that use of or exposure to its
Roundup® products could cause or be associated with Plaintiffs’ injuries and thus created a
dangerous and unreasonable risk of injury to the users of these products, including Plaintiffs.

145. Monsanto and Harry’s Hardware also knew or, in the exercise of reasonable care,
should have known that users and consumers of Roundup® were unaware of the risks and the
magnitude of the risks associated with use of and/or exposure to Roundup® and glyphosate-
containing products.

146. As such, Monsanto and Harry’s Hardware breached the duty of reasonable care and
failed to exercise ordinary care in the design, research, development, manufacture, testing,
marketing, supply, promotion, advertisement, packaging, sale, and distribution of its Roundup®
products, in that Monsanto manufactured, marketed, promoted, and sold defective herbicides
containing the chemical glyphosate, knew or had reason to know of the defects inherent in these
products, knew or had reason to know that a user’s or consumer’s exposure to the products created
a significant risk of harm and unreasonably dangerous side effects, and failed to prevent or
adequately warn of these risks and injuries.

147. Despite an ability and means to investigate, study, and test these products and to
provide adequate warnings, Monsanto and Harry’s Hardware has failed to do so. Indeed, Monsanto
and Harry’s Hardware has wrongfully concealed information and has further made false and/or
misleading statements concerning the safety and/or exposure to Roundup® and glyphosate.

148. Monsanto and Harry’s Hardware was negligent in the following respects:

a) Manufacturing, producing, promoting, formulating, creating, developing,
designing, selling, and/or distributing its Roundup® products without
thorough and adequate pre- and post-market testing;

b) Manufacturing, producing, promoting, formulating, creating, developing,
designing, selling, and/or distributing Roundup® while negligently and/or

intentionally concealing and failing to disclose the results of trials, tests, and

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studies of exposure to glyphosate, and, consequently, the risk of serious
harm associated with human use of and exposure to Roundup®;

c) Failing to undertake sufficient studies and conduct necessary tests to
determine whether or not Roundup® products and glyphosate-containing
products were safe for their intended use in agriculture and horticulture;

d) Failing to use reasonable and prudent care in the design, research,
manufacture, and development of Roundup® products so as to avoid the
tisk of serious harm associated with the prevalent use of
Roundup®/glyphosate as an herbicide;

e) Failing to design and manufacture Roundup® products so as to ensure they
were at least as safe and effective as other herbicides on the market;

f) Failing to provide adequate instructions, guidelines, and safety precautions
to those persons who Monsanto could reasonably foresee would use and be
exposed to its Roundup® products;

g) Failing to disclose to Plaintiffs, users/consumers, and the general public that
use of and exposure to Roundup® presented severe risks of cancer and other
grave illnesses;

h) Failing to warn Plaintiffs, consumers, and the general public that the
product’s risk of harm was unreasonable and that there were safer and
effective alternative herbicides available to Plaintiff and other consumers;

i) Systematically suppressing or downplaying contrary evidence about the
risks, incidence, and prevalence of the side effects of Roundup® and
glyphosate-containing products;

j)) Representing that its Roundup® products were safe for their intended use
when, in fact, Monsanto and Harry’s Hardware knew or should have
known that the products were not safe for their intended purpose;

kK) Declining to make or propose any changes to Roundup® products’ labeling
or other promotional materials that would alert the consumers and the
general public of the risks of Roundup® and glyphosate;

1) Advertising, marketing, and recommending the use of the Roundup®

products, while concealing and failing to disclose or warn of the dangers

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known by Monsanto and Harry’s Hardware to be associated with or caused
by the use of or exposure to Roundup® and glyphosate;

m) . Continuing to disseminate information to its consumers, which indicate or
imply that Monsanto’s Roundup® products are not unsafe for use in the
agricultural and horticultural industries; and

n) Continuing the manufacture and sale of its products with the knowledge that
the products were unreasonably unsafe and dangerous.

149. Monsanto and Harry’s Hardware knew and/or should have known that it was
foreseeable that consumers such as Plaintiffs would suffer injuries as a result of Monsanto’s failure
to exercise ordinary care in the manufacturing, marketing, promotion, labeling, distribution, and
sale of Roundup®.

150. Plaintiffs did not know the nature and extent of the injuries that could result from
the intended use of and/or exposure to Roundup® or its active ingredient glyphosate.

151. Monsanto’s and Harry’s Hardware’s negligence was the proximate cause of the
injuries, harm, and economic losses that Plaintiffs suffered, as described herein.

152. Monsanto’s and Harry’s Hardware’s conduct, as described above, was reckless.
Monsanto and Harry’s Hardware regularly risked the lives of consumers and users of its products,
including Plaintiffs, with full knowledge of the dangers of these products. Monsanto and Harry’s
Hardware has made conscious decisions not to redesign, re-label, warn, or inform the unsuspecting
public, including Plaintiffs. Monsanto’s and Harry’s Hardware’s reckless conduct therefore
warrants an award of aggravated or punitive damages.

153. As a proximate result of Monsanto’s and Harry’s Hardware’s wrongful acts and
omissions in placing defective Roundup® products into the stream of commerce without adequate
warnings of the hazardous and carcinogenic nature of glyphosate, Plaintiffs have suffered severe
and permanent physical and emotional injuries. Plaintiffs have endured pain and suffering and
have suffered economic losses (including significant expenses for medical care and treatment) in
an amount to be determined.

WHEREFORE, on the basis of all of the foregoing premises set out in paragraphs | through
153, Petitioner requests that defendants be served with this petition and that there be judgment
against these defendants jointly, severally and in solido in a sum sufficient to compensate

Petitioner for the following:

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a. all past, present and future medical costs or expenses related thereto;

b. all past, present and future lost earnings;

c. all past, present and future mental suffering, anguish and pain sustained by
Petitioner;

d. all past, present and future physical pain and suffering sustained by Petitioner;

e. the disfigurement suffered by Petitioner;

f. loss of quality of life;

g. past, present, and future disability.

h. all other forms of relief or categories of damages allowed by Louisiana law for
survival claims, with interest from the date of injury until paid, plus costs of these
proceedings.

WHEREFORE Petitioners pray that after due proceedings had, there be judgment herein

in favor of Petitioner and against the defendants as prayed for.

Respectfully submitted,

1010 Common Street, "Suite 2050
New Orleans, Louisiana 70112
Telephone: (504) 299-1214
Facsimile: (504) 299-1215

COUNSEL FOR PLAINTIFF

SERVICE INSTRUCTION ON FOLLOWING PAGE

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PLEASE SERVE THE FOLLOWING WITH THE ORIGINAL PETITION FOR DAMAGES:

1. MONSANTO COMPANY
Through its Registered Agent:
Corporation Service Company
501 Louisiana Avenue
Baton Rouge, LA 70802

2. HARRY’S HARDWARE, INC.
Through its Registered Agent:
Lehmann Norman & Marcus, LC
400 Poydras St., Ste. 2050
New Orleans, LA 70130-3251

3. OHIO SECURITY INSURANCE COMPANY as the liability insurer of Harry’s
Hardware, Inc. , (via Service of Process via the Direct Action Stature L. R. 8S. 22:655)
Through the Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809

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